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                                                                                         (b)(1)(A),MAG,LC4
                        US District Court Electronic Case Filing System
                              District of Utah (Southern Region)
                      CIVIL DOCKET FOR CASE #: 4:20−cv−00123−DN−PK

B. et al v. Providence Health Plan                           Date Filed: 10/30/2020
Assigned to: Judge David Nuffer                              Jury Demand: None
Referred to: Magistrate Judge Paul Kohler                    Nature of Suit: 791 Labor: E.R.I.S.A.
Cause: 28:1001 E.R.I.S.A.                                    Jurisdiction: Federal Question
Plaintiff
K. B.                                            represented by Brian S. King
                                                                BRIAN S KING PC
                                                                420 E SOUTH TEMPLE STE 420
                                                                SALT LAKE CITY, UT 84111
                                                                (801)532−1739
                                                                Email: brian@briansking.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                              Brent J. Newton
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                                                              Samuel Martin Hall
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                                                              Email: samuel@briansking.com
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Plaintiff
R. C.                                            represented by Brian S. King
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                              Brent J. Newton
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Samuel Martin Hall
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED


V.
                      Case 1:21-cv-00547-CL          Document 15         Filed 04/12/21      Page 2 of 3
Defendant
Providence Health Plan                                    represented by Bentley J. Tolk
                                                                         PARR BROWN GEE & LOVELESS
                                                                         101 S 200 E STE 700
                                                                         SALT LAKE CITY, UT 84111
                                                                         (801) 532−7840
                                                                         Email: btolk@parrbrown.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED


 Date Filed      #    Docket Text

 10/30/2020     Ï1    Case has been indexed and assigned to Judge David Nuffer. Plaintiffs K. B. and R. C. are directed
                      to E−File the Complaint and cover sheet (found under Complaints and Other Initiating Documents)
                      and pay the filing fee of $ 400.00 by the end of the business day.
                      NOTE: The court will not have jurisdiction until the opening document is electronically filed and
                      the filing fee paid in the CM/ECF system.
                      Civil Summons may be issued electronically. Prepare the summons using the courts PDF version
                      and email it to utdecf_clerk@utd.uscourts.gov for issuance. (dw) (Entered: 10/30/2020)

 10/30/2020     Ï2    COMPLAINT against Providence Health Plan (Filing fee $ 400, receipt number
                      AUTDC−3779519) filed by K. B., R. C.. (Attachments: # 1 Civil Cover Sheet Civil Cover Sheet)
                      Assigned to Judge David Nuffer (King, Brian) (Entered: 10/30/2020)

 11/02/2020     Ï3    NOTICE FROM THE COURT
                      This case is assigned to the Southern Region of the Central Division of the District of Utah. More
                      information is on the court's Southern Region web page. (pjd) (Entered: 11/02/2020)

 11/02/2020     Ï4    ORDER to Prepare Schedule and Prepare for Case Management Conference. Signed by Magistrate
                      Judge Paul Kohler on 11/2/20. (dla) (Entered: 11/02/2020)

 11/03/2020     Ï5    ORDER REFERRING CASE to Magistrate Judge Paul Kohler under 28:636 (b)(1)(A), Magistrate
                      to hear and determine all nondispositive pretrial matters. No attached document.

                      Signed by Judge David Nuffer on 11/3/220. (pjd)

                      (Entered: 11/03/2020)

 12/24/2020     Ï6    NOTICE of Appearance by Bentley J. Tolk on behalf of Providence Health Plan (Tolk, Bentley)
                      (Entered: 12/24/2020)

 01/08/2021     Ï7    Stipulated MOTION for Extension of Time to File Answer re 2 Complaint filed by Defendant
                      Providence Health Plan. (Attachments: # 1 Exhibit A) Motions referred to Paul Kohler.(Tolk,
                      Bentley) (Entered: 01/08/2021)

 01/08/2021     Ï8    ORDER granting 7 Motion for Extension of Time to Answer re 2 Complaint. Answer deadline
                      updated for Providence Health Plan: answer due 2/11/2021. Signed by Magistrate Judge Paul
                      Kohler on 1/8/21 (alt) (Entered: 01/08/2021)

 02/11/2021     Ï9    MOTION to Dismiss for Lack of Jurisdiction and Memorandum in Support , MOTION to Change
                      Venue and Memorandum in Support filed by Defendant Providence Health Plan. (Attachments: # 1
                      Exhibit A, # 2 Exhibit B) Motions referred to Paul Kohler.(Tolk, Bentley) (Entered: 02/11/2021)

 03/11/2021    Ï 10   Stipulated MOTION for Extension of Time to File Response/Reply as to 9 MOTION to Dismiss for
                      Lack of Jurisdiction and Memorandum in Support MOTION to Change Venue and Memorandum
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                    in Support filed by Plaintiffs K. B., R. C.. (Attachments: # 1 Text of Proposed Order Proposed
                    Order) Motions referred to Paul Kohler.(King, Brian) (Entered: 03/11/2021)

03/12/2021   Ï 11   ORDER granting 10 Motion for Extension of Time to File Response/Reply re 9 MOTION to
                    Dismiss for Lack of Jurisdiction MOTION to Change Venue: Response due by 3/18/2021. Signed
                    by Magistrate Judge Paul Kohler on 3/12/21 (alt) (Entered: 03/12/2021)

03/25/2021   Ï 12   RESPONSE to Motion re 9 MOTION to Dismiss for Lack of Jurisdiction MOTION to Change
                    Venue filed by Plaintiffs K. B., R. C.. (King, Brian) (Entered: 03/25/2021)

04/08/2021   Ï 13   Stipulated MOTION to Change Venue filed by Plaintiffs K. B., R. C.. Motions referred to Paul
                    Kohler.(King, Brian) (Entered: 04/08/2021)

04/12/2021   Ï 14   ORDER granting 13 Motion to Change Venue: the action is transferred to USDC, District of
                    Oregon. Signed by Judge David Nuffer on 4/12/21 (alt) (Entered: 04/12/2021)
